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                             EXHIBIT A
      Case 1:19-cv-02381-LTB-MEH Document 183-1 Filed 11/06/20 USDC Colorado Page 2 of 2


                                                                                                             INVOICE
 U S Legal Support - Denver
                                                                                                   Invoice No.                Invoice Date                Job No.
 1900 Grant Street
 Suite 1025                                                                                        140121876                     9/30/2020                352425
 Denver, CO 80203
                                                                                                     Job Date                                Case No.
 Phone:303-832-5966 Fax:
                                                                                                     9/30/2020            19CV2381MEH

                                                                                                                               Case Name

                                                                                             Walter Charnoff vs. Nancy Loving, d/b/a ArtSuite NY, et al.

        Elizabeth H. Getches
        Shoemaker Ghiselli & Schwartz L.L.C.                                                                                Payment Terms
        1811 Pearl Street
                                                                                             Due upon receipt
        Boulder, CO 80302




 APPEARANCE FEE/LATE CANCELLATION
        Brande Charnoff*App Fee
              Late Cancellation                                                                              1.00                    @         150.00              150.00
              RemoteDepo w/InstantExhibit- Videoconferencing                                                 1.00                    @            0.00               0.00

                                                                                                            TOTAL DUE >>>                                      $150.00
                                                                                                            AFTER 11/14/2020 PAY                                $172.50

 Thank you for your business. If you have any billing questions, please email swbilling@uslegalsupport.com. We will respond within 24
 hours.




Tax ID: XX-XXXXXXX                                                                                                               Phone: 303-530-3452     Fax:303-530-4071

                                                        Please detach bottom portion and return with payment.



 Elizabeth H. Getches                                                                      Invoice No.           :   140121876
 Shoemaker Ghiselli & Schwartz L.L.C.                                                      Invoice Date          :   9/30/2020
 1811 Pearl Street
 Boulder, CO 80302                                                                         Total Due             :   $150.00
                                                                                           AFTER 11/14/2020 PAY $172.50




                                                                                           Job No.               :   352425
Remit To:   U S Legal Support, Inc.                                                        BU ID                 :   8-DENVER
            P.O. Box 4772                                                                  Case No.              :   19CV2381MEH
            Houston, TX 77210-4772
                                                                                           Case Name             :   Walter Charnoff vs. Nancy Loving, d/b/a
                                                                                                                     ArtSuite NY, et al.
